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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND
_________________________________________
                                          )
 DEBORAH LAUFER, Individually,            )
                                          )
                          Plaintiff,      ) Case No.: 1:20-cv-01971-CCB
                   v.                     )
                                          )
 SHRI SUDHA DEVI LLC, A Maryland          )
 Corporation,                             )
                                          )
                          Defendant.      )
 ________________________________________ )


  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

       The Defendant, Shri Sudha Devi, LLC (hereafter “Hotel”), by and through its

undersigned counsel, hereby files this Memorandum of Law in Support of Defendant’s Motion to

Dismiss, and in support thereof states as follows.

      I.      Summary of Argument

       The Hotel submits that Plaintiff Deborah Laufer’s (“Laufer” or “Plaintiff”) complaint

must be dismissed for either one of two reasons.

       First, Laufer lacks standing to sue Hotel because she has failed to allege that she has

suffered, or will suffer in the immediate future, an “injury in fact” sufficient to state a claim

under the American with Disabilities Act, 42 U.S.C. §12181 et. seq. (“the ADA”). All that

Laufer has alleged is that she is an ADA tester who has visited websites maintained by third

parties travel agencies that fail to adequately describe Hotel’s ADA-compliance features. She

has not alleged any plausible fact that distinguishes her from non-handicapped persons. Nor has

she alleged that she ever intended, or intends, to visit Hotel’s premises.
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       Second, Laufer has not alleged that Hotel developed, controls, maintains or influences the

content of the websites she references in her complaint.

       Accordingly, the Complaint should be dismissed for lack of jurisdiction under Fed. R.

Civ. P. 12(b)(1), or under Fed R. Civ. P. 12(b)(6) for failure to state a claim.

      II.      Factual Allegations.

       According to the complaint, Laufer is wheelchair-bound and requires the

accommodations prescribed by the ADA in order to access, and use, public facilities such as

hotels. See Dkt. No. 1, Complaint at ¶ 1 (“Complaint”). She is a “tester” who monitors public

facilities, such as Hotel in this case, in order to ensure compliance with the ADA, including the

requirement of 28 C.F.R. § 36.302(e)(1) that the facilities provide a reservation system that

ensures disabled persons can assess whether the facility meets his or her accessibility and use

needs, and thereafter secure a reservation. Id. at ¶¶ 2, 6.

       Although Laufer alleges that Hotel “either through itself or by and through a third party,

implemented, operates, controls and or maintains websites for the Property which contains an

online reservations system,” the Complaint identifies five commonly known websites maintained

by online travel companies, namely: booking.com; priceline.com; agoda.com; hotels.com; and

expedia.com. Id. at ¶ 9 (referred to hereafter as “the Websites”). The Complaint is silent as to

the role that the Hotel plays in the preparation or publication of any of the content on the

Websites, or the role that Choice Hotels, the hotel chain of which the Hotel is a member, plays, if

any, in the development and publication of the content of the cited websites.

       From June 20-24, 2020, Laufer visited the websites to assess Hotel’s compliance with

section 36.302(e). For each of the websites, she determined that Hotel “did not identify or allow

for reservation of accessible guest rooms and did not provide sufficient information regarding


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accessability (sic) at the hotel.” Id. at ¶ 10. Although the Complaint alleges that, as a result,

“Plaintiff was deprived (sic) the same goods, services, features, facilities, benefits, advantages,

and accommodations of the Property available to the general public…” there are no allegations

of how Laufer was so deprived.

          The Complaint alleges further that “[i]n the near future, Plaintiff intends to revisit

Defendant’s online reservation system in order to test it for compliance with Section 36.302(e).”

Id. at ¶ 11. The Complaint does not allege that she intends to visit Hotel, or if she ever intended

to visit Hotel in the past.

          As of the date of the filing of the complaint, “[t]he subject websites” remain

noncompliant,” id. at ¶ 12, causing Plaintiff the litany of harms and humiliations described in

general fashion in paragraphs 13-15. Id. at ¶¶ 13-15. For relief, Laufer seeks a declaration of

rights, compensatory damages, attorneys fees and an injunction. Id. at pg. 9.

          For the reasons that follow, the Complaint should be dismissed for lack of jurisdiction as

a result of the absence of Article III standing, or failure to state a claim upon which relief can be

based.

         III.   Argument

          The Plaintiff lacks standing because she has not suffered a cognizable injury in fact. She

therefore lacks the Article III standing needed to support the Court’s subject matter jurisdiction

under Rule 12(b)(1). Furthermore, the Complaint simply assumes in conclusory fashion that the

Websites maintained by third party online travel companies comprise “Defendant’s reservation

system,” equate to “Defendant’s website.” These general conclusory allegations fail to satisfy

the specificity requirements of Ashcroft v. Iqbal, 556 U.S. 662 (2008), and Bell Atl. Corp. v.




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Twombly, 550 U.S. 544 (2007). The Complaint should therefore be dismissed for failure to state

a claim under Rule 12(b)(6).

          A. The Plaintiff Lacks Standing

        Under Rule 12(b)(1), the Plaintiff has the burden of establishing the court’s subject

matter jurisdiction over a claim. “‘The party invoking jurisdiction bears the burden of

establishing’ that he or she has standing.” Spokeo, Inc. v. Robins, __U.S.__, 136 S. Ct. 1540, 1547

(2016). And because injury-in-fact is a constitutional requirement, “Congress cannot erase Article

III's standing requirements by statutorily granting the right to sue to a plaintiff who would not

otherwise have standing.” Id. at 1547-48. Thus, a plaintiff does not “automatically satisf[y] the

injury-in-fact requirement whenever a statute grants a person a statutory right and purports to

authorize that person to sue to vindicate that right.” Id. at 1549. A violation of a statute “divorced

from any concrete harm” is not sufficient to allege an injury-in-fact sufficient to meet Article III

standing requirements. Id.

        For a plaintiff to have Article III standing, she must allege and prove injury in fact (i) that is

“concrete and particularized,” not “conjectural or hypothetical,” (ii) that is fairly traceable to

defendant’s conduct, and (iii) that will likely prove redressable via a favorable ruling from the court.

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

        Laufer contends that Hotel has injured her by denying her the information that she would

need to independently determine if Hotel can meet her accessibility needs, thus disadvantaging her

compared to people without disabilities who can determine whether they can stay at the Hotel by

looking at the Websites. Although such intangible injury can be concrete for standing purposes, it

would only be so if she in fact intended to visit the Hotel, something that she does not plead, and in

fact implies precisely the opposite. This was the basis for the New Jersey District Court’s dismissal



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of an identical claim in Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS 172456*

(D.N.J., Oct. 4, 2019) (dismissing complaint for lack of standing, and finding that plaintiff’s sole

goal was to determine defendant’s website compliance with the ADA and nothing impeded that

quest).

          This reasoning is directly analogous to the Fourth Circuit’s opinion in Griffin v. Dep’t of

Labor Fed. Credit Union, 912 F.3d 649 (4th Cir. 2019), affirming the dismissal of a complaint filed

by a blind plaintiff who complained that the defendant Credit Union’s website failed to inform him

of the products and services available from the Credit Union. Assuming that fact to be true, the

court concluded that plaintiff lacked standing because he would never qualify to be a member of the

Credit Union and therefore could not use the products and services, he was unable to find out about

on the website. Hence, his injury was not “direct” or “concrete”. Laufer suffers from the same

deficiency here inasmuch as she has not plead that she ever intended in the past, or intends in the

future, to stay in the defendant Hotel.

          In conclusion, Hotel contends that an ADA tester does not suffer an injury in fact simply

because she is not able to find out from a third-party website all of the compliant or non-compliant

features of a hotel/facility that she never intends to visit. See Strojnik v. Kapalua Land Co., 2019

U.S. Dist. LEXIS 165525 *18 (D. Hawaii, Aug. 26, 2019) (holding that “there is a critical

distinction ‘between an inability to use a website to gain information about a physical location and

an inability to use a website that impedes access to enjoy a physical location,’ the former being

insufficient to state a claim….’” citing supporting case law, and dismissing claim that website failed

to describe ADA features of facility). Because there is no injury in fact that has been suffered,

Plaintiff has no Article III standing and the complaint should be dismissed.




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        B. The Complaint Fails To Set Forth A Claim Upon Which Relief Can Be
           Granted.

        The Court is well aware of the standard of review of a motion to dismiss under Rule

12(b)(6), so Hotel will not belabor it here. This motion is predicated upon the principles of

Ashcroft v. Iqbal, 556 U.S. 662 (2008), and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007),

which proscribe “naked assertion[s]” devoid of “further factual enhancement,” and require that a

complaint must “state a claim to relief that is plausible on its face.” Id. at 570. This means that

the complaint must plead “factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. If the complaint

is implausible on its face, then it is subject to dismissal under Rule 12(b)(6). Id. The Laufer

Complaint fails to meet this standard.

        There is nothing in the Complaint that plausibly links the content of the Websites cited as

those reviewed by the Plaintiff with the Hotel. Although the Complaint blithely conflates the

Websites with the Hotel by referring to them as “Defendant’s reservation system” or

“Defendant’s website,” the only specific identifiers pled are the websites themselves, all of

which refer to travel companies that are publicly known and which have no discernible link to

Hotel other than that someone (most likely Hotel’s franchisor, Choice Hotels) purchased space

on the sites. 1

        Other than the conclusory statement in paragraph 9 of the complaint that Hotel, a single

franchise within the Choice Hotel system, “implemented, operated, controls or maintains” the



1
         The hotel.com website identifies it as an “Expedia Group” company. The “Expedia Group”
self-identifies as “the world’s largest travel platform.” See https://www.expediagroup.com/expedia-
brands/. The Expedia Group is a publicly traded company on the NASDAQ at EXPE.
Booking.com is a Dutch “digital travel company[y].” It and Agoda.com are subsidiaries Bookings
Holdings, Inc., also a publicly traded company trading on the NASDAQ. See
https://ir.bookingholdings.com/investor-relations.
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Websites which the public record indicates are owned by large international travel agencies, or

their subsidiaries, there is no specific allegation that identifies, whether on information or belief

or otherwise, just what role Hotel played in placing the content of these websites, if it played any

role at all. As the Court in Strojnik v. Kapalua Land Co., supra, noted when an ADA plaintiff

sought to sue a defendant whose premises was advertised on the hotels.com website and

allegedly suffered the same deficiencies as plead by Laufer: “nothing in Plaintiff’s

Complaint…allow(s) this Court to draw the reasonable inference that Outrigger is the entity

responsible for the website’s alleged ADA violations. Instead, it appears that Hotels.com, L.P., a

third-party lodging service is the entity responsible for the website.” Id. at *9. In Strojnik v.

Orangewood, LLC., the Court held that a hotel franchise could not be liable as a matter of law

under section 36.302(e) for the content of third-party websites “unless it failed to ‘make

available such rooms and [accessibility] information to [the] third party reservation provider.”

2020 U.S. Dist. LEXIS 11743 *14 (C.D. Cal., Jan. 22, 2020) (quoting and following the 2010

DOJ ADAAG Guidance at 28 C.F.R. § Pt. 36, App. A, and dismissing plaintiff’s ADA complaint
                                   2
for failure to satisfy Twombly).       And in Harty v. Nyack Motor Hotel, Inc., 2020 U.S. Dist.

LEXIS 40429 * 6, n. 3 (S.D.N.Y., March 9, 2020) the Court noted the “fundamental problem” of

seeking to hold an individual hotel liable for any alleged ADA deficiencies attributable to such

third-party booking websites such as hotel.com, booking.com and priceline.com. This

Complaint suffers from the same fundamental problem.

       Accordingly, the Complaint fails to state a cause of action for which relief can be granted

and should be dismissed under Rule 12(b)(6).



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        The DOJ Guidance also recognizes that a reservations system is not an accessibility survey
and that a hotel need not list all of its compliance or non-compliance. Strojnik v. Orangewood,
supra, at *17
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      IV.     Conclusion

       For the reasons stated above, the complaint should be dismissed, with prejudice, without

leave to replead.

                                                   Respectfully submitted,

Dated: August 7, 2020                              OFFIT KURMAN, P.A.

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